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 ALE SSAN D R O CAN CIAN ,

       Plaintiffy

 V.                                              CivilA ction N o.:7:18-CV-283

 I'IAN N ABA SS AN D R OW E ,IN C.,

 and

 LIN D SAY M ICH ELLE STIN SON ,
                                                 By: M ichaelF.U rbansld
       D efendants.                              ClziefUnited StatesDistrictJudge

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       Thepardesto thiscasehaveflled ajointsdpulation ofdisrnissal,advising thatthey
 haveagreed to dismisstllisacdon withprejudice,w1t
                                                 .11each partytobeartheirown attorneys'
 fees,expenses,and costs.ECF N o.66.Accordingly,thiscase is hereby D ISM ISSE D w ith

 prejudiceand STRICKEN from thedocketofthecourt.
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